
659 S.E.2d 439 (2008)
Jon-Paul CRAIG, by his mother and next friend, Kimberly CRAIG
v.
NEW HANOVER COUNTY BOARD OF EDUCATION, and Annette Register, in her Official and Individual Capacity.
No. 484PA07.
Supreme Court of North Carolina.
March 6, 2008.
Bruce Robinson, Wilmington, for Craig.
David A. Nash, Wilmington, for Board of Education.
Prior report: ___ N.C.App. ___, 648 S.E.2d 923.

ORDER
Upon consideration of the petition filed on the 2nd day of October 2007 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following *440 order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 6th day of March 2007."
